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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JERED EDWARDS, on behalf                      )
of himself and all others similarly situated, )
                                              )
               Plaintiff,                     )
                                              )    Civil Action No. 20-cv-01723
               v.                             )
                                              )
HEALTHCARE REVENUE RECOVERY )                      Hon. Mary M. Rowland
GROUP, LLC,                                   )
                                              )
               Defendant.                     )

                                       STATUS REPORT

       Pursuant to the Court’s Order of September 23, 2020 (Dkt. No. 25), Plaintiff Jered

Edwards, via counsel, and Defendant’s Counsel Paul Gamboa, on behalf of Defendant,

respectfully submit the following status report:


           A. Attorneys of Record

               Plaintiff
               Mario Kris Kasalo
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        Defendant
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        pgamboa@grsm.com

     B. Progress of Discovery

             1. All parties have exchanged MIDP Responses.

             2. All parties have issued and responded to written discovery.

             3. Plaintiff anticipates taking 1-2 depositions.

             4. Defendant anticipates taking 2-3 depositions.

     C. Settlement Conference

             The parties do not request a settlement conference at this time.

        By: /s Mario Kris Kasalo
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                                CERTIFICATE OF SERVICE

        I, Mario Kasalo, an attorney, hereby certify that on December 11, 2020, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such filing

to all attorneys of record.


Dated: December 11, 2020                                                 Respectfully submitted,


                                                                            By: /s/ Mario Kasalo
